Case 3:24-cv-00986-E      Document 152    Filed 06/29/24   Page 1 of 3   PageID 3405



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS

RYAN, LLC,
                           Plaintiff,

CHAMBER OF COMMERCE OF THE
UNITED STATES OF AMERICA, et al.,
                           Plaintiff-Intervenors,    No. 3:24-cv-986-E


            v.
FEDERAL TRADE COMMISSION,
                           Defendant.

                 PLAINTIFF AND PLAINTIFF-INTERVENORS’
                 NOTICE OF SUPPLEMENTAL AUTHORITIES

      Yesterday, Friday June 28, the Federal Trade Commission posted the

Statements of Commissioners Ferguson and Holyoak dissenting from the

Commission’s adoption of the Rule at issue in this case. Plaintiff and Plaintiff-

Intervenors respectfully submit the Statements, which are Exhibits A and B hereto,

for the Court’s consideration in connection with the pending motions for a stay and

preliminary injunction.




                                           1
Case 3:24-cv-00986-E       Document 152   Filed 06/29/24    Page 2 of 3   PageID 3406



Dated: June 29, 2024                           Respectfully submitted,

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                                           2
Case 3:24-cv-00986-E    Document 152     Filed 06/29/24    Page 3 of 3     PageID 3407



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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 29, 2024, I electronically transmitted the attached

document to the Clerk of the Court and all counsel of record using the ECF System

for filing and service in accordance with this Court’s ECF Order.

                                                     /s/Robert L. Sayles
                                                     Robert L. Sayles




                                          3
